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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


 UNITED STATES OF AMERICA                           Order of Restitution

             v.                                     S2 19 Cr. 696 (PAE)

 ARI TEMAN,

                  Defendant.


        Upon the application of the United States of America, by its attorney, Audrey Strauss,

United States Attorney for the Southern District of New York, Kedar S. Bhatia, Assistant United

States Attorney, of counsel; the presentence report; the Defendant’s conviction on Counts One

through Four of the above Superseding Indictment; and all other proceedings in this case, it is

hereby ORDERED that:

        1.        Amount of Restitution

        Ari Teman, the Defendant, shall pay restitution in the total amount of $259,340.32,

pursuant to 18 U.S.C. § 3663A (MVRA), to the victim of the offenses charged in Counts One

through Four. The name, address, and specific amount owed to the victim are set forth in the

Schedule of Victims, attached hereto as Schedule A. Upon advice by the United States Attorney’s

Office of a change of address of the victim, the Clerk of the Court is authorized to send payments

to the new address without further order of this Court.

                  A.    Joint and Several Liability

        Restitution is not joint and several with other defendants or with others not named herein.

                  B.    Victim

        Restitution shall be paid to the victim identified in the Schedule of Victims, attached hereto

as Schedule A.

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       2.      Schedule of Payments

       Pursuant to 18 U.S.C. § 3664(f)(2), in consideration of the financial resources and other

assets of the Defendant, including whether any of these assets are jointly controlled; projected

earnings and other income of the Defendant; and any financial obligations of the Defendant;

including obligations to dependents, the Defendant shall pay restitution in the manner and

according to the schedule that follows:

       The total amount of restitution is due and payable immediately pursuant to 18 U.S.C.

§ 3572(d)(1) upon entry of this judgment.

       3.      Payment Instructions

       The Defendant shall make restitution payments by certified check, bank check, money

order, wire transfer, credit card or cash. Checks and money orders shall be made payable to the

“SDNY Clerk of the Court” and mailed or hand-delivered to: United States Courthouse, 500 Pearl

Street, New York, New York 10007 - Attention: Cashier, as required by 18 U.S.C. § 3611. The

Defendant shall write his/her name and the docket number of this case on each check or money

order. Credit card payments must be made in person at the Clerk’s Office. Any cash payments

shall be hand delivered to the Clerk’s Office using exact change, and shall not be mailed. For

payments by wire, the Defendant shall contact the Clerk’s Office for wiring instructions.

       4.      Additional Provisions

       The Defendant shall notify, within 30 days, the Clerk of Court, the United States Probation

Office (during any period of probation or supervised release), and the United States Attorney’s

Office, 86 Chambers Street, 3rd Floor, New York, New York 10007 (Attn: Financial Litigation

Unit) of (1) any change of the Defendant’s name, residence, or mailing address or (2) any material

change in the Defendant’s financial resources that affects the Defendant’s ability to pay restitution



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in accordance with 18 U.S.C. § 3664(k). If the Defendant discloses, or the Government otherwise

learns of, additional assets not known to the Government at the time of the execution of this order,

the Government may seek a Court order modifying the payment schedule consistent with the

discovery of new or additional assets.

        5.      Restitution Liability

        The Defendant’s liability to pay restitution shall terminate on the date that is the later of 20

years from the entry of judgment or 20 years after the Defendant’s release from imprisonment, as

provided in 18 U.S.C. § 3613(b). Subject to the time limitations in the preceding sentence, in the

event of the death of the Defendant, the Defendant’s estate will be held responsible for any unpaid

balance of the restitution amount, and any lien filed pursuant to 18 U.S.C. § 3613(c) shall continue

until the estate receives a written release of that liability.

        6.      Sealing

        Consistent with 18 U.S.C. §§ 3771(a)(8) & 3664(d)(4) and Federal Rule of Criminal

Procedure 49.1, to protect the privacy interests of the victim, the Schedule of Victims, attached

hereto as Schedule A, shall be filed under seal, except that copies may be retained and used or

disclosed by the Government, the Clerk’s Office, and the Probation Department, as need be to

effect and enforce this Order, without further order of this Court.



SO ORDERED:

________________________________________                         _____________
THE HONORABLE PAUL A. ENGELMAYER                                 DATE
UNITED STATES DISTRICT JUDGE




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                                Schedule A
       Victim Name                    Address              Specific Amount Owed
Bank of America, N.A.     100 North Tryon Street          $259,340.32
                          Charlotte, North Carolina 28255




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